
In re Galliano, Lynn Paul; — Defendant(s); applying for writ of certiorari and/or review, writ of mandamus, writ of prohibition, supervisory/remedial writs; to the Court of Appeal, First Circuit, No. KA93 1101; Parish of Terrebonne, 32nd Judicial District Court, Div. “A”, No. 227,294.
Granted in part; denied in part. This case is remanded to the court of appeal for consideration on the merits of relator’s assignments of error numbers one, two, four, five, six and eleven, argued in his appellate brief. The *912court of appeal may require a relator to file supplemental assignments of error in the district court to provide that court with the opportunity to respond. La.C.Cr.P. art. 916(1) and (5); see State v. Murphy, 542 So.2d 1373, 1375, n. 4 (La.1989); State v. Thorne, 514 So.2d 1170 (La.1987). In all other respects, the application is denied.
KIMBALL, J., not on panel.
